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(16-2) (Part 16-2) 02.21.25 re: In re Group Management Corp., 03-93031 (BC
NDGA), Chapter 11, Supplement #1 to Rule 8009(d) Appellants’ and
Appellees’ Joint Stipulated Appellate Record.

Case No. 03-93031(16-2) (Part 16-2)!

Fileg
United States Bankruptcy Court Gia g Aitct of oY Coury

For the Northern District of Georgia “ FEB » ; .

(Atlanta Division) — = 2025
Sput ‘
In re Group Management Corp., Chapter 11 Yer

On Appeal in In re Group Management Corp., District Court
(NDGA) 25cv00613 (MLB)

Submitted on Friday, February 21, 2025, 9:56:15 AM via U.S.
mail and Email to: Bankruptcy Clerk Vania S. Allen and
Chief Judge Barbara Ellis-Monro Pursuant to Bankr. Rules
5003(a) and 8009(d).

Supplement F-7 (Appellants’ Declaration of Actual and/or Constructive Notice of
Adverse Consequence to all Appellees).

Supplement F-8 (Declaration of Appellees Baker & McKenzie, LLP and Lawrence
B. Mandala, Esq. regarding the Ill-Advised Form S-2 Frivolous and Fraudulent
Unlawful Debt Collection Registration Statement).

Supplement F-9 (Declaration of Elorian Landers, Group Management’s former
CEO).

Bankruptcy Clerk’s Filing Cover Letter

' District Court (NDGA) Docket No. 25cv00613 (MLB).

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
Rule 8009(d) filings, to wit: F-7 and F-8.
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APPELLANTS’ AND APPELLEES’ JOINT STIPULATED STATEMENT OF THE
ISSUES PRESENTED ON APPEAL IN IN RE GROUP MANAGEMENT CORP., CASE NO.
25CV00613 (NDGA) (MLB).

RESPECTFULLY SUBMITTED,

For Appellants: GROUP MANAGEMENT and Ulysses T. Ware

lysses T. Ware
Dm Ware
Submitted by:

Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
February 21, 2025, 9:56:15 AM

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Friday, February 21, 2025

(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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1. Supplement F-7—Attached hereto and made a part hereof, incorporated by reference.
(Appellants’ Declaration of Actual and/or Constructive Notice of Adverse Consequence to all

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2. Supplement F-8 (Declaration of Appellees Baker & McKenzie, LLP and Lawrence B.

Mandala, Esq. regarding the Ill-Advised Form S-2 Frivolous Registration Statement). .................00. 8
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Memorandum regarding F-9: Declaration of Elorian Landers, Group Management Corp.’s

former CEO. cssiscsewssvemcuevanmmnncnssnnemncancenenernas wsremons em RRM EAE REA iain 12

A. Summary of Supplement F-9 (Appellants’ Perspective): .............:cccccseeeeeesseeeeeeeseeeeeeeesnens 12
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The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L
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February 21, 2025, 9:56:15 AM

VIA ELECTRONIC FILING AND U.S. MAIL

Vania S. Allen

Office of the Clerk

United States Bankruptcy Court

Northern District of Georgia

Richard B. Russell Federal Building and United States Courthouse
75 Ted Turner Drive, S.W.

Atlanta, Georgia 30303

Re: (16-2) (Part 16-2) 02.21.25 re: In re Group Management Corp., 03-93031 (BC NDGA),
Chapter 11, Rule 8009(d) Appellants’ and Appellees’ Joint Stipulated Appellate Record —
Appeal Case No. 25cv00613 (NDGA) (MLB).

Appellants’ Supplements F-7, F-8, and F-9: Filing of Rule 8009(d) Joint Stipulated Appellate
Record.

Dear Ms. Allen, Clerk of the Bankruptcy Court:

Appellants-Movants, Ulysses T. Ware and Group Management (successor in interest to the
Chapter 11 Debtor, and 11 U.S.C. § 1109(b) statutory parties in interest), hereby submit for filing
and docketing the attached document titled “(16-2) (Part 16-2) 02.21.25 re: In re Group
Management Corp., 03-93031 (BC NDGA), Chapter 11, Rule 8009(d) Appellants’ and
Appellees’ Joint Stipulated Appellate Record” (hereinafter, the “Joint Stipulated Appellate
Record”).

This filing constitutes Appellants-Movants’ designation of the Appellate Record on Appeal
in the above-referenced matter, Case No. 03-93031 (WLH), which is currently pending appeal
before the United States District Court for the Northern District of Georgia as Case No. 25cv00613
(NDGA) (MLB), Dkt. 279.

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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The attached Joint Stipulated Appellate Record is submitted pursuant to Rule 8009(d) of
the Federal Rules of Bankruptcy Procedure, and is intended to serve as the Agreed Statement as

the Record on Appeal in this matter, in lieu of the standard record designation process outlined in
Rule 8009(a).

As detailed within the attached Joint Stipulated Appellate Record, and as evidenced by |
prior filings with this Honorable Court, Appellants-Movants have made diligent and good faith
efforts to engage all Appellees-Respondents in a collaborative process to finalize a truly joint
stipulated record pursuant to Rule 8009(d). To that end, Appellants-Movants have provided all
Appellees-Respondents with actual notice of the proposed Joint Stipulated Appellate Record via
electronic mail to their respective public email accounts, as documented in the Certificate of
Service attached to the Joint Stipulated Appellate Record.

Pursuant to Bankruptcy Rule 8009(d), Appellants-Movants respectfully request that the
Clerk of the Bankruptcy Court undertake the following actions to ensure the proper certification
and transmittal of the Appellate Record to the United States District Court:

1. Forward the Attached Joint Stipulated Appellate Record to the Honorable Chief
Judge Barbara Ellis-Monro for Review and Approval: In accordance with Rule
8009(d), the attached Joint Stipulated Appellate Record requires review and approval by
the Bankruptcy Court to ensure its accuracy and completeness. Rule 8009(d)(1) explicitly
provides that “If the statement is accurate, it—together with any additions that the
bankruptcy court may consider necessary to a full presentation of the issues on appeal—
must be approved by the bankruptcy court.” Appellants-Movants respectfully request that
the Clerk promptly forward the attached “accurate” Joint Stipulated Appellate Record to
Chief Judge Ellis-Monro for her review and approval.

2. Certification of Approved Joint Stipulated Appellate Record: Upon the Bankruptcy
Court’s approval of the Joint Stipulated Appellate Record, Appellants-Movants
respectfully request that the Clerk certify the approved statement to the United States
District Court for the Northern District of Georgia, Case No. 25cv00613 (NDGA) (MLB),
as the official Record on Appeal, pursuant to Rule 8009(d)(2) of the Federal Rules of
Bankruptcy Procedure. Rule 8009(d)(2) mandates that “If the bankruptcy court approves
the statement, it must be certified to the court where the appeal is pending as the record
on appeal.”

3. Transmittal of Certified Record to District Court Clerk: Following certification by the
Bankruptcy Court, Appellants-Movants respectfully request that the Bankruptcy Clerk
transmit forthwith the certified Joint Stipulated Appellate Record to the Clerk of the United
States District Court for the Northern District of Georgia, in accordance with Rule
8009(d)(3) and Rule 8010 of the Federal Rules of Bankruptcy Procedure. Rule 8009(d)(3)
directs that “The bankruptcy clerk must then transmit it to the clerk of that court within
the time provided by Rule 8010.”

Appellants-Movants submit this Joint Stipulated Appellate Record in good faith and in the interest
of judicial economy, to streamline the appellate process and to focus the District Court’s review

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on the dispositive jurisdictional and sanctioning issues presented in this appeal. We respectfully
request the Bankruptcy Court’s prompt attention to this matter to facilitate the timely progression
of this appeal before the United States District Court.

Respectfully submitted,

Ulysses T. Ware
2 Wax
ULYSSES T. WARE

Attorney in Fact for Appellants-Movants
Ulysses T. Ware and Group Management

Attachments:

1. (F-7, F-8, and F-9) attachments 02.21.25 re: In re Group Management Corp., 03-
93031 (BC NDGA), Chapter 11, Rule 8009(d) Appellants’ and Appellees’ Joint
Stipulated Appellate Record.

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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1. Supplement F-7—Attached hereto separately and made a part
hereof, incorporated by reference. (Appellants’ Declaration of Actual
and/or Constructive Notice of Adverse Consequence to all Appellees).

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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2. Supplement F-8 (Declaration of Appellees Baker & McKenzie,
LLP and Lawrence B. Mandala, Esq. regarding the Il-Advised Form
S-2 Frivolous Registration Statement).

Memorandum regarding F-8

This memorandum presents a summary of Document F-8, analyzed from the Appellants-
Movants’ perspective as a critical supplement to the Rule 8009(d) Joint Stipulated Appellate
Record. This analysis reveals how Document F-8, the so-called “Declaration of Baker &
McKenzie, LLP and Lawrence B. Mandala, Esq. regarding the Ill-Advised Form S-2 Frivolous
Registration Statement,” far from mitigating Appellees’ liability, instead serves as a powerful and
self-incriminating admission that inadvertently validates and amplifies the core issues
meticulously articulated by Appellants-Movants in their Rule 8009(d) Joint Stipulated Statement
of Issues Presented on Appeal (F-1).

A. Summary of Supplement F-8 (Appellants’ Perspective):

Supplement F-8, masquerading as a “Declaration” in defense of Baker & McKenzie, LLP,
and Lawrence B. Mandala, Esq.’s, demonstrably indefensible conduct, is in reality a
transparently weak and self-serving attempt at damage control, riddled with carefully parsed
half-truths, glaring omissions, and implicit concessions that ultimately undermine Appellees’
already crumbling legal position and irrefutably bolster the strength of Appellants-Movants’
appeal. Far from exonerating Baker & McKenzie, LLP, and Lawrence Mandala, Esq., Document
F-8 serves as a devastating self-inflicted wound, providing further evidentiary support for

Appellants-Movants’ allegations and highlighting the endemic bad faith and fraudulent intent

underlying Appellees’ protracted obstruction of justice.

While feigning a defense, Document F-8 fundamentally collapses under the weight of its
own omissions and evasions. The Declaration’s carefully crafted implicit denials of negligence
and fraud ring hollow in the face of its startling failure to address, let alone refute, the
dispositive legal and factual issues that lie at the very heart of Appellants-Movants’ appeal and

sanctions motions. Indeed, Document F-8, through its strategic silences and transparently weak

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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assertions, effectively concedes the most damaging aspects of Appellants-Movants’ case,

validating the core arguments meticulously detailed in the Rule 8009(d) Joint Stipulated Statement

of Issues Presented on Appeal (F-1).

B.
1):

Document F-8 as Material Support for Appellants’ Core Appellate Issues (F-

Examining Document F-8 through the prism of Appellants-Movants’ Rule 8009(d) Joint

Stipulated Statement of Issues Presented on Appeal (F-1), it becomes manifestly apparent how

Baker & McKenzie, LLP, and Lawrence Mandala, Esq.’s, “Declaration” reinforces and

substantiates Appellants’ key appellate arguments across each of the dispositive issues outlined

in F-1:

1.

Issue 1: Lack of Subject Matter Jurisdiction Over Criminal Usury (F-1, Point 1):
Document F-8, in its desperate attempt to defend the “ill-advised Form S-2 Frivolous
Registration Statement,” studiously avoids any mention of the criminal usury at the
heart of the predatory convertible promissory notes (GX 1-4). This telling omission serves
as a tacit admission that Baker & McKenzie, LLP, and Lawrence Mandala, Esq., cannot,
and dare not, contest the demonstrably criminally usurious nature of these void ab initio
debt instruments, thus implicitly conceding the Bankruptcy Court’s fundamental lack of
Article III subject matter jurisdiction, as powerfully argued by Appellants-Movants in F-1,
Point 1.

Issue 2: Violation of New York Criminal Usury Law (F-1, Point 2): Similarly,
Document F-8 remains conspicuously silent regarding the undisputed violation of New
York Penal Law § 190.40, the criminal usury law, by the Predatory Criminal Usury
Subject Matter (GX 1-5). This silence further reinforces Appellants-Movants’ argument,
presented in F-1, Point 2, that the underlying debts are indeed criminally usurious and void
ab initio under controlling New York law, a critical element in establishing the Bankruptcy

Court’s jurisdictional deficiency.

. Issue 3: Void Ab Initio Status and Violation of Public Policy and Federal Securities

Laws (F-1, Point 3): Document F-8, while attempting to defend the Form SB-2, utterly

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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fails to address the dispositive legal argument that the Predatory Criminal Usury Subject
Matter is null and void ab initio, unenforceable, uncollectible, and violative of public
policy and federal securities laws. This omission implicitly concedes the validity of
Appellants-Movants’ contention, outlined in F-1, Point 3, that the Bankruptcy Court’s
attempt to adjudicate claims based on these illegal and void debts is itself unlawful and
jurisdictionally improper.

4, Issue 4: Article III Standing of Unregistered Broker-Dealer Appellees (F-1, Point 4):
Document F-8 makes no attempt whatsoever to address the fundamental Article III
standing deficiency of Kilpatrick Townsend & Stockton LLP’s unregistered broker-dealer
clients. This silence constitutes a tacit admission that Baker & McKenzie, LLP, and
Lawrence Mandala, Esq., have no legitimate basis to contest Appellants-Movants’
argument, presented in F-1, Point 4, that these Appellees, as certified unregistered broker-
dealers, patently lack the constitutionally required “legally protected interest” and
“concrete injury in fact” to invoke federal jurisdiction in the Bankruptcy Court.

5. Issue 9: Preclusive Effect of SDNY Final Judgment and Orders (F-1, Point 9): Most
tellingly, Document F-8 completely ignores the dispositive preclusive effect of Judge
Sand’s Dec. 20, 2007, Dkt. 90, voluntary Rule 41(a)(2) superseding 2007 Final
Judgment in the 02cv2219 (SDNY) litigation and the principles of res judicata.” This
glaring omission, in a document purporting to defend Baker & McKenzie, LLP, and
Lawrence Mandala, Esq.’s, actions, is a stunning and self-incriminating oversight. It

serves as a de facto concession that Appellees-Respondents are indeed legally barred by

* Although Judge Sand’s Rule 41(a)(2) voluntary final judgment was entered after the date of Baker &
McKenzie, LLP’s materially misleading, deceitful, frivolous, and manifestly fraudulent Declaration, F-8,
Baker nor Mandala have fulfilled their ethical and professional duties and obligations to the federal courts
with respect to ABA Rule of Professional Conduct Rule 3.3 and made a full and complete duty of complete
candor declaration to the Courts (02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), and
25cv00613 (NDGA)) and explained the new information regarding KTS’ clients’—that is, FINRA’s senior
executive Marcia E. Asquith, Esq’s May 17, 2021, officially confirmed and verified unregistered broker-
dealer status for each of KTS’ clients, (see Dkt. 11 in 03-93031), which rendered its previous Declaration,
F-8, materially inaccurate, false, misleading, and misrepresenting the facts.

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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res judicata from relitigating the claims at issue in the 03-93031 Bankruptcy Case, as
forcefully argued by Appellants-Movants in F-1, Point 9, and throughout their appeal.

In conclusion, Supplement F-8, the purported “Declaration of Baker & McKenzie, LLP and
Lawrence B. Mandala, Esq.,” while intended as a defensive maneuver, ultimately serves as a
powerful and unintended testament to the strength and validity of Appellants-Movants’ core
appellate arguments. This document, riddled with strategic silences, implicit concessions, and
demonstrably weak denials, inadvertently, but negligently, reinforces the compelling legal and
factual narrative meticulously constructed by Appellants-Movants and underscores the
increasingly untenable and legally bankrupt position of Baker & McKenzie, LLP, Lawrence
Mandala, Esq., and their co-Appellees. Document F-8 should therefore be strategically
incorporated into Appellants-Movants’ Joint Stipulated Appellate Record as further and
compelling evidentiary support for their claims and as a testament to the self-inflicted wounds of

a desperate and demonstrably failing defense.

Respectfully,

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/s/ Ulysses T. Ware

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
Rule 8009(d) filings, to wit: F-7 and F-8.
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3. Supplement F-9 (Declaration of Group Management’s former
CEO Elorian Landers).

Memorandum regarding F-9: Declaration of Elorian Landers, Group Management
Corp.’s former CEO.

This memorandum presents the Appellants’ concise summary of Document F-9, the
Declaration of former Group Management Corp. CEO, Elorian Lander, a factually strategic and
decisive, and invaluable piece of evidence that unequivocally confirms and validates
Appellants-Movants’ core appellate issues and delivers a crippling blow to the already
untenable position of Appellees-Respondents. Document F-9, when properly understood serves
as a potent weapon for the District Court in reviewing Appellants’ issues on appeal, and moreover,
providing irrefutable support and further exposing the fraudulent and bad-faith nature of

Appellees’ protracted conspiracy and obstruction of justice.

A. Summary of Supplement F-9 (Appellants’ Perspective):

Supplement F-9, the “Declaration of Elorian Lander, Former CEO of Group Management
Corp.,” must be recognized for what it truly is: a remarkable and truthful review of the fact in
support for Appellants-Movants. While providing background context, Lander’s Declaration, in
reality, functions as a damning and irrefutable confirmation of the predatory lending context,
jurisdictional deficiencies, and underlying illegality that form the bedrock of Appellants-Movants’
Rule 8009(d) Joint Stipulated Appellate Record (F-1). Document F-9 is not merely supportive; it
is decisive corroboration, dismantling Appellees-Respondents’ already fragile defenses and

paving the way for a swift and unequivocal victory in the United States District Court.

Strategically integrated as Supplement F-9 to the Rule 8009(d) Joint Stipulated Appellate
Record, the Declaration of Elorian Lander, former CEO, affirmatively validates and irrefutably
substantiates Appellants-Movants’ key appellate arguments across each of the dispositive
issues presented in F-1, delivering a devastating and self-inflicted blow to the Appellees’

fraudulent enterprise:

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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1. Issue 1: Lack of Subject Matter Jurisdiction Over Criminal Usury (F-1, Point 1) — F-
9 Irrefutably Establishes Predatory Lending Context, Undermining Jurisdictional Basis:
Elorian Lander’s Declaration (F-9) directly and powerfully establishes the unmistakably
predatory lending context surrounding the convertible promissory notes (GX 1-4), the
very instruments at the heart of Appellees-Respondents’ baseless claims, Dkt. 6, 11, 13,
14, 15, 16, 28, 256, 258, 263, 274, 275, 278, and 286. Lander’s detailed account of Group
Management Corp.’s dire financial straits, its desperate search for capital, and its forced
entry into manifestly exploitative financing arrangements with entities later revealed to be
unregistered broker-dealers, (KTS’ clients, see Dkt. 11), irrefutably demonstrates that
GX 1-4 were not legitimate debt instruments, but rather tools of predatory lending and
criminal usury. This explicit factual confirmation of the predatory context, emanating from
the Debtor’s former CEO, obliterates any remaining vestige of legitimacy from
Appellees-Respondents’ claims and definitively proves the 03-93031 Bankruptcy
Court’s utter lack of all Article III subject matter jurisdiction over GX 1-4, and GX
5, as forcefully argued by Appellants-Movants in F-1, Point 1. Document F-9 thus serves
as a smoking gun, conclusively establishing the jurisdictional void at the core of the
02cv2219 (SDNY), and 03-93031 Bankruptcy Court proceedings.

2. Issue 2: Violation of New York Criminal Usury Law (F-1, Point 2) — F-9 Directly
Supports Criminal Usury Finding, Compounding Illegality: Lander’s Declaration (F-9)
provides further direct support for the inescapable conclusion that the Predatory
Criminal Usury Subject Matter (GX 1-5) is criminally usurious and violative of New
York Penal Law § 190.40. While not explicitly using the term “criminal usury,” Lander’s
detailed description of the loan terms, the exorbitant interest rates exceeding 2000% per
annum, and the coercive and exploitative nature of the financing arrangements
affirmatively demonstrates the hallmarks of criminal usury under New York law. This

factual account, provided by the Debtor’s former CEO, provides independent_and

compelling corroboration for Appellants-Movants’ argument, presented in F-1, Point 2,

that the underlying debts are criminally usurious and void ab initio, further cementing the

illegality and jurisdictional impropriety of the Bankruptcy Court’s actions.

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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3. Issue 3: Void Ab Initio Status and Violation of Public Policy and Federal Securities
Laws (F-1, Point 3) — F-9 Underscores Unenforceability and Illegality, Destroying
Appellees’ Claim Basis: Lander’s Declaration, in its factual recitation of the predatory
lending scheme and the unlawful nature of the underlying transactions, directly
underscores the void ab initio status of the Predatory Criminal Usury Subject Matter and
its inherent violation of public policy and federal securities laws. By detailing the
coercive and exploitative context of the loans, GX 1-4, Lander’s Declaration powerfully
reinforces Appellants-Movants’ argument, presented in F-1, Point 3, that these debt

instruments are fundamentally unenforceable and uncollectible, and that the Bankruptcy

Court’s attempt to adjudicate claims based on such illegal and void obligations, Dkt. 11,
13, 15, and 16, is a clear usurpation of federal judicial power. Document F-9 thus serves to
demolish any semblance of legitimacy remaining in Appellees-Respondents’ claims.

4. Issue 4: Article III Standing of Unregistered Broker-Dealer Appellees (F-1, Point 4)
— F-9 Confirms Transactions with Unregistered Entities, Eradicating Standing: Lander’s
Declaration, through its implicit acknowledgment of dealings with entities later certified
by FINRA as unregistered broker-dealers, directly confirms the fatal Article III standing
deficiency of Kilpatrick Townsend & Stockton LLP’s clients. Lander’s recitation of Group
Management Corp.’s financial interactions with Alpha Capital, AG, Stonestreet, L.P.,
Markham Holdings, L.P., Amro International, S.A., and LH Financial Services Corp.,
affirmatively substantiates Appellants-Movants’ factual assertions and powerfully
reinforces their legal argument, presented in F-1, Point 4, that these unregistered broker-

dealers patently lack the constitutionally required “legally protected interest” and

“concrete injury in fact” to invoke federal jurisdiction, as their claims are predicated on
void and illegal transactions, (see NYS Penal Law, section 190.40 and 18 USC §§2, 371,
1951(a), 1961(6)(B), and 1962(a-d)) with a Chapter 11 Debtor while a fiduciary of the

Chapter 11 Debtor. Document F-9 thus provides critical factual validation and support for

Appellants-Movants’ Article III standing challenge, further undermining the jurisdictional
legitimacy of the Bankruptcy Court proceedings.

5. Issue 9: Preclusive Effect of SDNY Final Judgment and Orders (F-1, Point 9) — F-9
Exacerbates Baker & McKenzie’s Ethical Breach and Tacitly Confirms SDNY

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(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
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Judgment’s Dispositive Force: Document F-8, the self-styled “Declaration” of Baker &
McKenzie, LLP, and Lawrence Mandala, Esq., not only strategically evades any
substantive engagement with the dispositive preclusive effect of Judge Sand’s 2007 Final
Judgment, but, when critically examined in light of the timeline of events,’ actively
compounds Baker & McKenzie, LLP, and Lawrence Mandala, Esq.’s, egregious
breach of professional ethics and duty of candor to the federal courts. Appellants-

Movants emphasize the following damning and irrefutable fact:

Despite this critical temporal reality, Baker & McKenzie, LLP, and Lawrence
Mandala, Esq., have willfully failed and refused to supplement or amend their
Declaration F-8 to acknowledge, disclose, or address the sea change in the legal landscape
wrought by Judge Sand’s 02cv2219 (SDNY) voluntary, Rule 41(a)(2) superseding Dkt. 90,
December 20, 2007, Final Judgment. This deliberate and ethically reprehensible omission
is not merely an oversight of Baker, KTS, the U.S. Trustee’s Office, Region 21, and
Mandala; it is a calculated act of deception, designed to perpetuate a demonstrably false
and misleading factual and legal narrative before the federal courts and to conceal the
inescapable preclusive res judicata force of Judge Sand’s Final Judgment in favor of the

Appellants, Dkt. 90.

Baker & McKenzie, LLP, KTS’, the Office of the U.S. Trustee, Region 21 (Mary
Ida Townson, Esq. and Jeneane Treace, Esq., officers of the court), and Lawrence Mandala,
Esq.’s, continued eivatcais silence regarding the dispositive preclusive effect of Judge
Sand’s 2007 Final Judgment, especially in light of their affirmative duty of complete
candor to the tribunal under ABA Rule of Professional Conduct Rule 3.3 and the

intervening entry of this Final Judgment after the execution of their Declaration F-8, is not
merely negligent or inadvertent — it is a deliberate and unethical act of concealment and

misrepresentation. Their silence, in this context, constitutes a powerful and damning

3 Baker & McKenzie, LLP, and Lawrence B. Mandala, Esq.’s, Declaration F-8 was executed and filed
before the entry of Judge Sand’s Rule 41(a)(2) voluntary final judgment (Dkt. 90, 02cv2219 SDNY) on
December 20, 2007.

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Friday, February 21, 2025

(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
Rule 8009(d) filings, to wit: F-7 and F-8.
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tacit concession that Appellees-Respondents have no legitimate basis to contest the
binding preclusive effect of Judge Sand’s Final Judgment, and that their continued
litigation of claims in the 03-93031 Bankruptcy Case and the 25cv00613 (NDGA) appeal
is demonstrably barred by res judicata, as forcefully and repeatedly argued by Appellants-
Movants in F-1, Point 9, and throughout these protracted proceedings. Document F-8,
therefore, stands as a monument to Baker & McKenzie, LLP, and Lawrence Mandala,
Esq.’s, ethical and moral bankruptcy, underscoring the unanswerable force of
Appellants-Movants’ res judicata argument and further cementing the inevitability of

Appellees-Respondents’ ultimate legal defeat.

In conclusion, Supplement F-9, the “Declaration of Elorian Lander, Former CEO of Group
Management Corp.,” far from being a neutral or inconsequential filing, emerges as a powerful
and unanticipated weapon in Appellants-Movants’ arsenal. This document, through its
inadvertent admissions, implicit confirmations, and strategic silences, affirmatively validates
Appellants-Movants’ core narrative, irrefutably substantiates their key factual assertions,
and delivers a devastating and self-inflicted blow to the increasingly desperate and legally
bankrupt position of Appellees-Respondents. Document F-9 should therefore be strategically
highlighted and leveraged as a critical component of the Rule 8009(d) Joint Stipulated Appellate
Record, further paving the way for Appellants-Movants’ ultimate and richly deserved victory in
the United States District Court.

Respectfully submitted,

/s/ Ulysses T. Ware

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February 21, 2025

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Friday, February 21, 2025

(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
Rule 8009(d) filings, to wit: F-7 and F-8.
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Certificate of Service
I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that
on this 21st day of February 2025, I caused to be served a true and correct copy of the foregoing
COVER LETTER REGARDING FILING OF RULE 8009(d) JOINT STIPULATED
APPELLATE RECORD and attached JOINT STIPULATED APPELLATE RECORD (16-
2) (Part 16-2) 02.21.25 re: In re Group Management Corp., 03-93031 (BC NDGA), Chapter
11, Rule 8009(d) Appellants’ and Appellees’ Joint Stipulated Appellate Record via electronic
filing with the Bankruptcy Court and by U.S. Mail to the Office of the Clerk, United States
Bankruptcy Court, Northern District of Georgia, Richard B. Russell Federal Building and United

States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303.

/s/ Ulysses T. Ware

Tew c Ware
Ulysses T. Ware

End of document

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Friday, February 21, 2025

(16-2) (Part 16-2) re Feb. 12, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding supplemental
Rule 8009(d) filings, to wit: F-7 and F-8.
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03-93031: Rule 8009(d) F-7

Re: (13-9) (Part 15-9) 02.16.25 re: Appellants’ Final Memorandum of
(i) Actual Notice of the In re Group Management Corp., 03-93031 (BC
NDGA), and In re Group Management Corp., 25cv00613 (NDGA)
(MLB) proceedings, and (ii) Adverse Consequences, civil and penal,
for each Appellee named in 25cv00613 (NDGA) (MLB), Ex. 1, infra,
in their personal and individual and/or if warranted official capacity
— Supported by United Student Aid Funds, Inc. v. Espinosa, 559 U.S.
260, 272-75 (2010).

The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
utware007@gmail.com

February 16, 2025, 12:35:39 PM12:35 PM
VIA ELECTRONIC FILING—Email

TO: ACTUAL NOTICE TO EACH APPELLEE, THEIR PRIVIES, AGENTS, PROXIES,
SURROGATES, ALTER-EGOS, AND ALL THOSE IN ACTIVE CONCERT
THEREWITH, JOINTLY AND SEVERALLY, NAMED IN CASE NO. 25cv00613 (NDGA)
(MLB).

Thank you for your attention to this critically important Article III “threshold” jurisdiction

and standing constitutional matter.

RESPECTFULLY SUBMITTED,

oy Appellants; GROUP MANAGEMENT and Ulysses T. Ware

2- Wow

Submitted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L

Brooklyn, NY 11226

(718) 844-1260

Utware007@gmail.com

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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
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Appellants-Movants, Ulysses T. Ware and Group Management (collectively, “Appellants”), Final
Judgment Prevailing Parties in the 02cv2219 (SDNY) litigation and Appellants in the above-
referenced appeal from the Bankruptcy Court, Case No. 03-93031 (WLH) (Bankr. N.D. Ga.),
currently pending before the United States District Court for the Northern District of Georgia
(Appellate Dkt. 279, Case No. 25cv00613 (MLB)), hereby submit this comprehensive
Memorandum to formally and unequivocally actually and constructively notify each Appellee,
their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith,

jointly and severally, of the following critical matters:

I. FINAL ACTUAL NOTICE OF IN RE GROUP MANAGEMENT
CORP. PROCEEDINGS (CASE NOS. 03-93031 (BC NDGA) &
25cv00613 (NDGA) (MLB)).

Each Appellee is hereby formally actually and constructively notified and, informed, reminded
that you have received, and will continue to receive, extensive and irrefutable actual and
constructive notice of the In re Group Management Corp., Case No. 03-93031 (WLH) (Bankr.
N.D. Ga.) Chapter 11 proceedings, and the related appeal currently pending before the United
States District Court for the Northern District of Georgia, Case No. 25cv00613 (NDGA) (MLB),
see Ex. 1, infra. This Actual Notice is established through, but not limited to, the following

documented channels:

1. Direct and Repeated Communications from Appellants-Movants: Appellants-
Movants, through their counsel, Ulysses T. Ware, have engaged in repeated and
documented direct communications with each Appellee, and/or their designated legal
counsel, via electronic mail and U.S. Mail. These communications, including but not
limited to the (13-5A), (13-5B), (13-7), Dkt. 278, 279, Dkt. 281, and other referenced

communications, have explicitly and comprehensively notified each Appellee of:

a. The existence and nature of the In re Group Management Corp., Case No. 03-93031
(WLH) (Bankr. N.D. Ga.) Chapter 11 proceedings and the pending appeal, Case No.
25cv00613 (NDGA) (MLB), see Ex. 1, infra.

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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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b. The specific Docket Numbers and Court designations for both the Bankruptcy Court and
District Court proceedings. Id.

c. The nature and substance of Appellants-Movants’ Rule 9014/12(h)(3) Jurisdictional

Notice of Appeal (Dkt. 279) and the core jurisdictional and standing issues raised therein.
Id.

d. Appellants-Movants’ demands for mandatory insurance disclosures pursuant to Rule
26(a)(1)(A)(iv) of the Federal Rules of Civil Procedure and OCGA § 33-3-28(a)(1), (2).
(Part 14-24).

e. Appellants-Movants’ intent to file a Motion for Severance of Particular Appellees, Rule
9011, 28 U.S.C. § 1927, Inherent Power Sanctions, and Entry of Partial Final Judgment in
Appeal, including a Money Judgment in the sum certain amount of $5.2225 billion. Id.

f. Clear and explicit deadlines for compliance with mandatory disclosure obligations and

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for responding to Appellants-Movants’ “meet and confer” requests. (Part 15)

g. Unequivocal warnings regarding the adverse legal and financial consequences of
continued non-response and obstructionist conduct, including the waiver of procedural due
process and the imposition of substantial sanctions and a multi-billion dollar Money

Judgment. (Parts 14 and 15).

2. Official Bankruptcy Court Docket — Case No. 03-93031 (WLH) (Bankr. N.D. Ga.):
The official docket of In re Group Management Corp., Case No. 03-93031 (WLH)
(Bankr, N.D. Ga.) is a public record, providing constructive notice to all parties in interest,
including each Appellee named herein, of all filings, orders, and “activity” in the Chapter
11 proceedings. For Baker & McKenzie, LLP listing as creditors (interested parties) on the
official Bankruptcy Court docket and in the Debtor’s schedules, constitutes formal and
legally sufficient notice of all proceedings therein, including the orders being appealed and
Appellants-Movants’ jurisdictional challenges—as well as actual notice to their purported
legal counsel Thomas.A. Leghorn, Esq. (Part 15-5A, 15-5B).

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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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3. Official District Court Docket — Case No. 25cv00613 (NDGA) (MLB): The official
docket of the appeal, In re Group Management Corp., Case No. 25cv00613 (NDGA)
(MLB), before the United States District Court for the Northern District of Georgia, is also
a public record, providing constructive notice to all Appellees of the pendency of the
appeal, the filing of Appellants-Movants’ Notice of Appeal (Dkt. 279), and all subsequent
filings and deadlines in the appellate proceedings. See Ex. 1, infra.

4. Judicial Notice of Public Record and Notoriety of Proceedings: The protracted and
widely publicized nature of the In re Group Management Corp. Bankruptcy Case and the
related 02cv2219 (SDNY) litigation, spanning over two decades, provides further
constructive notice to each Appellee of the ongoing legal disputes and the issues currently

before the District Court in Appeal Dkt. 279. See Dkt. 65 and Dkt. 90, 02cv2219 (SDNY).

Il. ACTUAL NOTICE OF ADVERSE, DIRE, AND DISASTROUS
PENAL AND PECUNIARY CONSEQUENCES FOR
APPELLEES’, THEIR PRIVIES, AGENTS, PROXIES,
SURROGATES, ALTER-EGOS, AND AL THOSE IN ACTIVE
CONCERT THEREWITH WILLFUL NON-RESPONSE AND
WAIVER OF PROCEDURAL DUE PROCESS.

Each Appellee is hereby formally actually notified and warned that your continued willful non-
response to Appellants-Movants’ demands, your willful and bad faith conspicuous absence from
any substantive engagement in these proceedings, and your knowing and deliberate waiver of
procedural due process rights will result in the following severe adverse penal and pecuniary

consequences, for which each Appellee will be held jointly and severally liable:

1. Entry of Partial Final Judgment: $5.2225 Billion Money Judgment: Appellants-
Movants will imminently seek, and the United States District Court is fully authorized
and justified in entering based on the Rule 8009(d) Joint Consent Stipulated Appellate
Record (13-6) (Part 15-6), a Partial Final Judgment against each Appellee, jointly and
severally, personally and individually, in the sum certain amount of $5.2225 billion. This

Money Judgment is sought as a just and proportionate remedy and sanction for Appellees’

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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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clearly unlawful and vexatious conduct, including, but not limited to, the following legally
and factually substantiated grounds:

a. Racketeering Liability (18 U.S.C. § 1962(d)): Appellees’ demonstrable
participation in an ongoing pattern of racketeering activity, in furtherance of a
criminal conspiracy to loot the 03-93031 Chapter 11 estate of +$522 million in
insider-trading profits and to obstruct justice in the Bankruptcy Court and related
appellate proceedings, unequivocally exposes each Appellee to joint and several
civil liability under the Racketeer Influenced and Corrupt Organizations Act
(“RICO”), 18 U.S.C. § 1961, et seg. This RICO liability arises from Appellees’
predicate acts of bankruptcy fraud (11 U.S.C. §§ 152, 157), wire fraud (18 U.S.C.
§ 1343), mail fraud (18 U.S.C. § 1341), money laundering (18 U.S.C. §§ 1956-57),
Hobbs Act violations (18 U.S.C. § 1951(a)), and obstruction of justice (18 U.S.C.
§ 1503), all of which are amply supported by the factual record in the 03-93031
Bankruptcy Case, the 02cv2219 (SDNY) litigation, and Appellees’ own tacit
admissions through their willful non-response to Appellants-Movants’ demands
and allegations. The requested $5.2225 billion Money Judgment represents a
conservative and proportionate assessment of the damages and RICO forfeiture
penalties warranted by Appellees’ extensive and egregious racketeering enterprise.

b. Aiding and Abetting Criminal Usury and Hobbs Act Violations: Appellees’
knowing and willful aiding and abetting of Kilpatrick Townsend & Stockton LLP’s
unregistered broker-dealer clients (identified in Dkt. 11 of the 03-93031

Bankruptcy Case) in the unlawful enforcement and collection of predatory criminal
usury debts (GX 1-4 and GX 5, bearing interest rates exceeding 2000% per annum,
void ab initio under New York Penal Law § 190.40) directly and proximately
caused substantial harm to Group Management Corp., Group Management, Ulysses
T. Ware, and the Chapter 11 estate, and exposes each Appellee to substantial civil
and penal liability. This unlawful debt collection activity, 03-93031, Dkt. 6, 11, 13,
14, 15, 16, 28, 256, 258, 274, 275, and 278, was conducted in willful and
knowingly, or reckless disregard for the law, violation of the Hobbs Act, 18 U.S.C.
§§ 1951(a), 1961(6)(B), and New York Penal Law § 190.40 (a Class E Felony),

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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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further justifies the imposition of a substantial Money Judgment to redress the
damages caused by Appellees’ complicity in this criminal enterprise and to deter
future violations of federal and state criminal usury and racketeering laws.

c. Professional Malpractice and Fraudulent Misconduct (Baker & McKenzie,
LLP, Lawrence B. Mandala, Esq., Robert H. Albaral, Esq., London Fischer
LLP, Thomas A. Leghorn, Esq.): The factual record in the 03-93031 Bankruptcy
Case, 25cv00613 (NDGA), see (Parts 15-5, 15-5A, and 15-5B), and the related
02cv2219 (SDNY) litigation, plainly establishes the irrefutable gross negligence
and fraudulent misconduct of Baker & McKenzie, LLP, and Lawrence B. Mandala,
Esq., in their preparation of an egregiously negligent and fraudulent legal opinion
letter and Form SB-2. This fraudulent legal work product was instrumental in
enabling Kilpatrick Townsend & Stockton LLP’s unregistered broker-dealer clients
to perpetrate their predatory criminal usury scheme and to initiate the vexatious and
jurisdictionally baseless claims in the 03-93031 Bankruptcy Case, Dkt. 11, 15, and
16. This professional malpractice and fraudulent misconduct, which proximately
caused massive harm and damages to Group Management Corp., Group
Management, Ulysses T. Ware, and the Chapter 11 estate, subjects Baker &
McKenzie, LLP, London Fischer LLP, and their attorneys to substantial
professional liability, compensatory damages, and punitive damages, all of which
are appropriately encompassed within the requested $5.2225 billion Money
Judgment.

d. Theft and Conversion of Chapter 11 Estate Assets:
Appellees’ knowing and willful participation in the theft, concealment, and
conversion of +$522 million in strict—liability insider—trading profits (as formally
determined by the United States District Court for the Southern District of New
York (Sand, J.) on Aug. 13, 2003, 02cv2219 (SDNY), Dkt. 65, (15 USC 78p(b)
statutory insider status for each of Appellee KTS' 02cv2219 (SDNY)), (see 03-
93031, Dkt. 11), KTS' clients, Exhibit 1 to Joint Stipulated Appellate Record),
which eonstinnts assets of the Chapter 11 estate under 11 U.S.C. § 541(a)(1), and
the +$522 million in strict—liability insider—trading profits (as formally determined

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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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by the United States District Court for the Southern District of New York (Sand,
J.) are required to be turned over, 11 USC § 542(a), for administration, and (ii) the
$675,000 in stolen legal fees (unlawfully extracted by Appellee Edward T.M.
Garland, Manibur S. Arora, Michael F. Bachner, Donald F. Samuel, Janice Singer,
and David B. Levitt) from Appellants-Movants under duress and coercion), directly
and proximately caused massive pecuniary harm to the Chapter 11 estate and its
legitimate creditors.

e. Appellees’ direct and/or indirect willful and bad faith participation in this unlawful
scheme to loot the Chapter 11 estate--Hobbs Act 18 USC §§ 2, 152, 157, 371,
924(c), 1201-02, 131, 1343, 1344, 1346, 1503, 1951(a), 1956-57, 1958-
59, 1961(6)(B), 1962(a-d), and 2071(a), (b) exposes each Appellee, jointly and
severally, to liability for disgorgement, turnover of the stolen assets, and .
compensatory and punitive damages, all of which are appropriately included within
the scope of the requested $5.2225 billion Money Judgment, which seeks to restore
the stolen assets to the Chapter 11 estate and to redress the substantial harm caused
by Appellees’ unlawful criminal and tortious conduct.

f. Rule 9011 Sanctions: Appellees’ objectively frivolous and legally untenable
opposition, Dkt. 6, 11, 13, 14, 15, 16; also see Parts 15-5, 15-5A, and 15-5B; and
see also Ex. 2 and Ex. 3., infra, to Appellants-Movants’ claims, and their willful
obstruction of justice and abuse of process, warrant the imposition of substantial
sanctions under Rule 9011 of the Federal Rules of Bankruptcy Procedure. Rule
9011(c)(2) explicitly authorizes the imposition of “monetary sanctions,” including
“payment to the movant of some or all of the reasonable attorneys’ fees and other
expenses incurred as a direct result of the violation.” Appellees’ sanctionable
conduct, including their baseless procedural objections, their willful non-
compliance with mandatory insurance disclosure obligations, and their vexatious
multiplication of proceedings, has directly caused Appellants-Movants to incur
substantial and unnecessary attorneys’ fees and expenses in prosecuting this appeal
and in seeking to compel Appellees’ compliance with basic legal and ethical
obligations. The District Court is fully authorized and justified in imposing

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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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substantial monetary sanctions under Rule 9011, payable directly to Appellants-
Movants, to compensate them for these unwarranted and avoidable costs and to
deter future sanctionable conduct by Appellees and others similarly situated.

g. 28 U.S.C. § 1927 Sanctions: Appellees’ vexatious and bad faith multiplication of
proceedings, and their unreasonable and unwarranted refusal to comply with
mandatory insurance disclosure obligations, provide a further and independent
basis for the imposition of sanctions under 28 U.S.C. § 1927. 28 U.S.C. § 1927
explicitly authorizes a federal court to impose sanctions personally upon any
attorney “who so multiplies the proceedings in any case unreasonably and
vexatiously...”. Appellees’ counsel, including but not limited to Thomas A.
Leghorn, Esq., and Patrick N. Arndt, Esq., have demonstrably engaged in a pattern
of unreasonable and vexatious conduct, including the interposition of frivolous
procedural objections, the willful non-compliance with mandatory disclosure
obligations, and the persistent refusal to engage in good faith “meet and confer”
discussions, all of which have served to needlessly multiply the proceedings,
increase the costs of litigation, and obstruct the efficient administration of justice.

Sanctions under 28 U.S.C. § 1927, to be assessed personally against each Appellee!

and their legal counsel, are therefore warranted to deter such abusive litigation
tactics and to compensate Appellants-Movants for the unnecessary costs and
expenses incurred as a direct result of this vexatious conduct.

h. Inherent Power Sanctions: The United States District Court possesses inherent

power to sanction bad faith conduct and abuse of process, as repeatedly affirmed

' See Certificate of Service, infra, regarding Georgia’s OIC John F. King’s egregious 28 USC § 1927
violations, as a regulatory public official, which authorizes the District Court, Brown, J. in regard to the
Rule 26(a)(1)(A)(iv) disclosure obligation fo personally sanction John F. King in the sum certain amount
of $457, 821.88 for unnecessary, unreasonable and wholly unjustified litigation fees and expenses incurred
by Appellants seeking to obtain the required OCGA §§ 33-3-28(a)(1), (2) disclosures from Appellees Nall
& Miller, LLP, GSL, KTS, Baker & McKenzie, LLP, Thomas A. Leghorn, London Fischer, LLP, Manibur
S. Arora, and FINRA. John F. King, as the Georgia OIC had the lawful authority to order the immediate
disclosure and production of all insurance policies held by the Appellees, however, John F. King willfully
abandoned his statutory regulatory duties and responsibilities and joined the criminal enterprise and has
knowingly, willfully, in bad faith obstructed Appellants’ access to necessary and required Rule
26(a)(1)(A)(iv) mandatory insurance information concerning the Appellees.

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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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by the Supreme Court. Chambers v. NASCO, Inc., 501 U.S. 32, 43-46 (1991). This
inherent power extends to the imposition of substantial monetary penalties,
including the entry of a Money Judgment, where a party has acted in bad faith,
vexatiously, or for oppressive reasons. Appellees’ egregious and persistent pattern
of misconduct in this matter, when viewed in its totality, including their
participation in a RICO enterprise, their aiding and abetting of criminal usury and
Hobbs Act violations, their willful obstruction of justice, their bad faith non-
compliance with mandatory disclosure obligations, and their tacit admission of
liability, constitutes a clear and egregious abuse of the judicial process that warrants
the exercise of this Court’s inherent power to impose sanctions commensurate with
the gravity of their offenses. The requested $5.2225 billion Money Judgment is not
merely compensatory, but is principally intended as a punitive and deterrent
sanction, reflecting the extraordinary scale and egregious nature of Appellees’
misconduct, arid the imperative need to vindicate the integrity of the federal judicial
system and to deter future abuses of similar magnitude.

i. Potential Criminal Referral and Investigation: Appellees are hereby notified,
with the utmost seriousness and gravity, that their documented conduct throughout
the In re Group Management Corp. proceedings and the related appeal, including
but not limited to the potential violations of 18 U.S.C. § 2071(a), (b) (Concealment,
Removal, and Mutilation of Court Records), 18 U.S.C. § 152 and 157 (Bankruptcy
Fraud), 18 U.S.C. § 1951(a) (Hobbs Act), and 18 U.S.C. § 1962(d) (RICO
Conspiracy), will be formally referred to the United States Attorney’s Office for
the Northern District of Georgia and the Federal Bureau of Investigation for
immediate criminal investigation and potential prosecution. The documented
evidence of Appellees’ potential criminal violations, including but not limited to
the confessed violations of Bankruptcy Rule 5003 and 18 U.S.C. § 2071(a), (b) by
Chief Bankruptcy Judge Barbara Ellis-Monro (Dkt. 278), warrants_a full and

comprehensive federal criminal investigation, Each Appellee is strongly and

urgently advised to seek immediate independent criminal legal counsel regarding

their potential exposure to federal criminal liability, and the imminent risk of

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(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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indictment, prosecution, and imprisonment, arising from their documented conduct

in this matter.”

Hil. APPELLEES’ WILLFUL AND KNOWING WAIVER,
FORFEITURE, AND ABANDONMENT OF PROCEDURAL DUE
PROCESS RIGHTS UNDER ESPINOSA.

As explicitly established by the Supreme Court in United Student Aid Funds, Inc. v. Espinosa,
559 U.S. 260 (2010), each Appellee, by virtue of your extensive actual notice of the In re Group
Management Corp. proceedings and the pending appeal, see Ex. 1, infra, and your deliberate and
persistent failure to avail yourselves of the ample opportunities to be heard and to present any

objections or defenses to the 03-93031 Bankruptcy Court (NDGA), have knowingly, willfully, and

intentionally waived, forfeited, and abandoned any procedural due process rights you might

otherwise have asserted in this matter.

The Espinosa Court explicitly held that due process requires only “notice reasonably calculated,
under all the circumstances, to apprise interested parties [Appellees, et al.] of the pendency of the

[25cv00613 (NDGA), see Dkt. 281, Ex. 1, infra] action and afford them an opportunity to present

their objections,’ and that “actual notice of the filing and contents of Espinosa's plan” more than

2 United States vy. Grote, 961 F.3d 105, 109 (2d Cir. 2020) (“Defendants Scott Tucker and Timothy Muir
appeal their criminal convictions after a five-week jury trial in the U.S. District Court for the Southern
District of New York (P. Kevin Castel, /. ) on fourteen counts of racketeering, conspiracy, and fraud
offenses arising out of the Defendants’ operation of an illegal payday lending scheme. The evidence
showed that from about 1997 to 2013, the Defendants lent money at interest rates far in excess of those

permitted under the laws of New York [cf., GX 1-4, interest rates exceeded 2000%] and other states in
which their borrowers resided, and deceived borrowers as to the terms of the loans. Zhe indictment
included three counts of conducting an enterprise's affairs through the collection of unlawful usurious

debt, in violation of the Racketeer Influenced and Corrupt Organizations Act ("RICO"), 18 U.S.C.
1962(c) (Counts 2-4); one count of conspiracy to do the same, in violation of 18 U.S.C. § 1962(d) (Count
1); one count of wire fraud and one count of wire fraud conspiracy, in violation of 18 U.S.C. 8§
1343, 1349 (Counts 5-6); three counts of money laundering and conspiracy to launder money, in
violation of 18 U.S.C. § 1956(a)(1)(A)(i), - (a)(1)(B)(i), - (h) (Counts 7-9); and five counts of making false
statements in disclosures required by the Truth in Lending Act (TILA), in violation of 15 U.S.C. §

1611 (Counts 10-14). The Defendants were convicted on all counts.”). (emphasis added).

3 The Bankruptcy Court, Dkt. 281, on Feb. 7, 2025, Ex. 1, infra, provided and gave actual and constructive
public notice to each Appellee of their procedural due process right to participate in the 25cv00613 (NDGA)

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document5-16 Filed 03/07/25 Page 29 of 64

satisfied this requirement, even absent formal service of a [Bankr. Rule 7000 et. segs. adversarial

proceeding] summons and complaint. Espinosa, 559 U.S. at 272-273.4 Your continued non-

response and obstructionist conduct further solidify this waiver, forfeiture, and abandonment, and
leave you without any good faith, Bankr Rule 9011(b)(1-4) nonfrivolous legitimate procedural or
substantive basis to oppose Appellants-Movants’ claims or the imminent entry of a Partial Final
Judgment against you. As the Espinosa Court concluded, parties who fail to raise timely objections

“forfeited [their] arguments regarding the validity of service or the adequacy of the Bankruptcy

Court's procedures...” . Id. at 276. (paraphrased) (emphasis added). Your silence is your binding

forfeiture—estoppel by acquiescence,

Rule 9014/12(h)(3) Article III jurisdiction and standing appeal of Appellee KTS’ unregistered broker-dealer
clients’ with respect to 18 USC §§1 2, 152, 157, 371, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1956-
57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b) Hobbs Act predatory criminal usury unlawful debt
collection activities, to wit: Dkt. 6, 11, 13, 14, 15, 16, 28, 256, 258, 263, 274, 275, and 278—-+that is, a
pattern of racketeering activities in furtherance of the unlawful debt collection activities with respect to
GX 1-4, and GX 5, the null and void ab initio, unenforceable, uncollectible, and moot criminal usury
subject matter. See Adar Bays, LLC vy. GeneSYS ID, Inc., 28 F.4d 379 (2d Cir. 2022), and United States
vy. Grote, 961 F.3d 105 (2d Cir. 2019) (Aff'd conviction, sentence, and +$3.5 billion in RICO forfeiture
judgment for unlawful debt collection activities).

4 The Appellees have had actual and constructive notice since 2010 of the possibility of criminal and civil
18 USC § 1964(c) RICO charges arising from KTS and its unregistered broker-dealer clients’ suspect and
criminal activities, before, during, and after the 03-93031 Chapter 11 proceedings; and according to the
current 03-93031 Rule 5003 purported complete and properly maintained docket, there is no record of
any intervention or appearance in 03-93031 by any Appellee, their privies, agents, proxies, surrogates, alter-
egos, or all those in active concert therewith inquiring of and petitioning the Bankruptcy Court to make a
declaratory judgment ruling on any potential civil or criminal liability, responsibility, or culpability they
might face from KTS and its unregistered broker-dealer clients’ conducting Hobbs Act 18 USC §§ 2, 152,
157, 371, 401(2), 401(3), 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1512, 1519, 1956-57, 1958-59,
1961(6)(B), 1962(a-d), and 2071(a), (b) unlawful debt collection activities, apropos Dkt. 6, 11, 13, 14, 15,
16, 28, 256, 258, 274, 275, and 278, before, during, and after the 03-93031 proceedings. Accordingly, each
Appellee has knowingly and willfully forfeited, waived, and abandoned all procedural due process rights
in regard to the 03-93031 and 25cv00613 (NDGA) pending appeal—that is, immediate entry by the
25cv00613 (NDGA) District Court (Brown, J.) of partial final money judgment in the sum certain amount
of $5.2225 billion, jointly and severally, against each Appellee is required by res judicata resulting from
Sand, J., Dec. 20, 2007, Dkt. 90, Rule 41(a)(2) voluntary final judgment entered in 02cv2219 (SDNY) after
the statute of limitation had run on all claims in the 02cv2219 (SDNY) lawsuit. Federated Dept. Stores,
Inc., 452 U.S. at 398, 401-02.

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 30 of 64

IV. FINAL NOTICE AND OPPORTUNITY FOR IMMEDIATE
MITIGATION:

This Memorandum serves as Appellants’ final and unequivocal Rule 9011 (b)(1-4) and 28 USC §

1927 actual and constructive formal notice to each Appellee regarding the imminent and severe

adverse legal (penal) and_financial consequences of your continued non-response and

obstructionist conduct. Appellants extend a final opportunity to each Appellee to mitigate your

escalating legal and financial exposure by immediately:

1. Ceasing all further obstructionist conduct and bad faith non-compliance.

2. Providing full and complete compliance with all outstanding mandatory Rule
26(a)(1)(A)(iv) insurance disclosure demands.

3. Formally acknowledging and stipulating to the factual accuracy and completeness of the
Joint Stipulated Appellate Record (13-6) (Part 15-6).

4. Initiating good faith settlement discussions with Appellants to explore a mutually agreeable
resolution that would avert the necessity of further judicial intervention and the imposition

of the severe adverse consequences detailed herein.

vy. APPELLANTS’ ACTUAL NOTICE OF ADVERSE
CONSEQUENCES.

The Appellees’ failure to individually respond immediately, not later than 11:00 am, on
Monday, February 17, 2025, time is of the essence, and to demonstrate unequivocal and good

faith compliance and a genuine commitment to settlement discussions will be construed as:

(i) a confirmation of your knowing, deliberate, and intentional willful waiver, forfeiture,

and abandonment, Espinosa, Id., of all procedural due process,

(ii) a tacit and actual agreed, conceded, stipulated, and factual judicial admission of civil
18 USC § 1964(c) RICO, tort, and criminal liability—11 USC §§ 152, 157, 401(2), 401(3), and
2071(a), (b) to the Appellants in the sum certain amount of $5.2225 billion, plus punitive damages,

Page 13 of 23

Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 31 of 64

costs, fees, expenses, and a reasonable attorneys fee to be determined in damages and sanctioning

proceeding in the District Court, Brown, J.

Such failure will compel Appellants to immediately file their motion for severance of

particular Appellees, pursuant to Rule 9011, 28 USC§ 1927, inherent power sanctions, and entry
of partial final judgment in the 25cv00613 (NDGA) (MLB) pending appeal, seeking the full

measure of relief requested, including entry of a money judgment in the sum certain amount

of $5.2225 billion, entered against each severed Appellee, jointly and severally, in it or their
personal and individual capacity, and criminal referral to the Department of Justice and

the Federal Bureau of Investigation.
Respectfully submitted,

/s/ Ulysses T. Ware
Mette
SSES T. WARE

Attorney for Appellants-Movants
Ulysses T. Ware and Group Management

Dated: February 16, 2025

> Atlanta, GA law firms Kilpatrick, Townsend, & Stockton, LLP, Dennis S. Meir, John W. Mills, III, J.
Henry Walker, IV, Wab Kadaba, Nall & Miller, LLP, Patrick Nash Arndt, Michael D. Hostetter, Lawrence
B. Mandala, Thomas A. Leghorn, London Fischer, LLP, Robert H. Albaral, Michael J. Malliband, Garland,
Samuel, & Loeb, P.C., Manibur S. Arora, Edward T.M. Garland, Baker & McKenzie, LLP, FINRA, the
State Bar of Georgia, Mary Ida Townson, Jeneane Treace, James H. Morawetz, Arie Rabinowitz, Kenneth
A. Zitter, each 02cv2219 (SDNY) plaintiff, cf., Dkt. 11, 03-93031, John F. King, William D. NeSmith, III,
Paula Frederick, Leigh Burgess, William Alan Myers, Jonathan Hewett, Jenny Mittlemen, Wendy L.
Hagenau, M. Regina Thomas, Patricia Sinback, and others to be named and identified at a later date.

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 32 of 64

Certificate of Service
I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that
on this 16th day of February, 2025, I caused to be served a true and correct copy of the foregoing
(13-9) (Part 15-9) 02.16.25 re: Appellants’ Memorandum of (i) Actual Notice of the 03-93031
(BC NDGA) In re Group Management Corp. Proceedings, and (ii) Adverse Consequences,
civil and penal, for each Appellee named in 25cv00613 (NDGA) (MLB), including the attached
Appellee Service List, see Dkt. 281, infra, (03-93031) via electronic mail to each Appellee’s

known email address to each Appellee.

/ Ulysses T. Ware
Qs Woe
Ulysses T. Ware

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document5-16 Filed 03/07/25 Page 33 of 64

Exhibit 1--Dkt. 281—The Bankruptcy Clerk’s In re Group
Management Corp., 03-93031 (BC NDGA) and 25cv00613(NDGA)
(MLB) Actual Public Notice to Appellees.

Case 03-93031-wh Doc 281 Filed 02/07/25 Entered 02/07/25 12:35:15 Desc Main
Document Page 1 of 27
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA

IN RE:

Group Management Corp. CASE NO. 03-9303 1-wih

Debtor(s)

CHAPTER 11
Ulysses T. Ware and Group Management

Appellant
¥.

Alpha Capital, AG, Stonestreet, L.P., Markham Holdings,
LP., Amro Iniemational, $,A., Kilpatrick, Townsend, &
Stockton, LLP, Dennis S. Meir, John W. Mills HI, a J. Henry
Walker, TV, Wab Kadaba, Kenneth A, Zitter, Arie
Rabinowitz, LH Financial Services Corp., Konrad
Ackermann, Joseph Hammer, Trailblazer Merger Corp., 1,
Wendy L. Hagenau, James H. Morawetz, the Office of the
LLS. Trustee, Region 21, Ida Mae Townsend, M. Regina
Thomas, Patricia Sinback, Margaret 1, Murphy, Joyce
Bihary, Coleman Ray Mullins, Securities and Exchange
Commission, Financial Industry Regulatory Agency
(FINRA), Barbara Ellis-Munto, Marcia E. Asquith, Robert
L.D., Colby, Robert W. Cook, Emma Jones, Sarah Jeffries,
The State Bar of Georgia, Office of the General Counsel,
William D, NeSmith, IH, Paula Fredrick, Leigh Burgess,
Williams Alon Myers, Adrienne Nash, Jenny Mitticmen,
Jonathan Hewett, Patrick N. Arndt, Michael D. Hostetter,
Nall & Miller, LLP, Manibur S. Arora, Edward T.M.
Garland, Michaet F, Bachner, David B, Levitt, Donald F.
Samuel, Janice Singer, Alexander H. Southwell, Thomas W,
Thrash, Jr., Michael P. Boggs, Thomas A. Leghom,
Lawrence B. Mandala, Baker & McKenzie, LLP, Robert 1,
Albaral, John F. King, and Office of the Georgia Insurance
Commissioner., and John Does Insurance Companies, ##1-3.

Appellees

RE: NOTICE OF APPEAL FILED ON February 3, 2025

NOTICE 1S GIVEN that the Appellant shall, within 14 days of February 3, 2025
the date the appeal was filed, file with the Clerk of the United States Bankruptcy Court the following:

1. A designation of the items to be included in the record on appeal and serve a copy upon
the appellee (include the corresponding docket number for cach pleading listed);

2. A statement of the issues to be presented and serve a copy upon the appellee; and

Page 16 of 23
Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 34 of 64

Case 03-93031-wlh Doc 281 Filed 02/07/25 Entered 02/07/25 12:35:15 Desc Main
Document Page 2 of 27
3. A written request for the transcript and deliver a copy to the court reporter IF the record
designated includes a transeript of any proceeding or a part thereof,

wel NOTICE IS FURTHER GIVEN that within 14 days after the service of the appellunt’s statement,

—_] : tiles may file and serve on the appellant a designation of additional items to be included in the

record on appeal. Without a designation of the record, the record prepared by the Clerk will consist only

of the notice of appeal, the judgment, order or decree appealed from, and any opinion, findings of fact, and
conclusions of law of the court (See Rule 8009 of the Federal Rules of Bankruptey Procedure.)

YOU SHOULD REDACT (REMOVE) PERSONAL INFORMATION from the documents
and exhibits in the Designated Record. Include only the last four digits of any Social Security
number, taxpayer-identifieation number, or financial account number. Include only an individual's
year of birth or the inifials of a minor child (See Rule 9037 of the Federal Rules of Bankruptcy
Procedure.)

VANIA S$. ALLEN, CLERK

By: /s/
Yuhuira Lugo, Deputy Clerk

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 35 of 64

Exhibit 2—GA OIC’s Regulatory finding of bad faith violation of
GA statutory insurance law by KTS, GSL, and Nall & Miller, LLP

ene rome
Insurance and Safety Fire and Solely Fire

2 ip cS,
Protect | Enforce | Educate | Inform Swoiualeieudner ne Ince

West Tower, Suite 702
Atlanta, Georgia 30334

November 15, 2024

Mr. Ulysses Thomas Ware
123 Linden Blvd Apt 9L
Apt 9L

Brooklyn, NY 11226

RE: OurCase Number: 555289371

Dear Mr, Ware:

The Consumer Services Division is the investigative arm of the Office of Commissioner of Insurance and
attempts to ensure fair and equitable dealings between insurers, agents, policyholders, and 3rd party claimants
regarding all insurance transactions. This division receives complaints against agents, insurers, various

contractors, vendors, and unlicensed individuals.

To address the matter concerning O.C.G.A 33-3-28 (a) 2. This statute requires the insured to disclose the name
of each known insurer which may be liable to the claimant within 30 days of receiving a written request. Giv:

the insureds’ failure to comply with j t, we suggest this matter is now a matter of the
courts.

We do appreciate the confidence you placed in the Office of Insurance Commissioner John F, King,

Sincerely,

Jessica Dozier

Complaints Analyst

Consumer Services Division

Phone: 404-656-9135; Fax: 404-657-8542
/JD

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 36 of 64

Exhibit 3—GA OIC’s notice of criminal
investigation of conspiracy to commit insurance
fraud by KTS, GSL, and Nall & Miller, LLP

hm Gmail Ulysses Ware <utware007@gmall.com>

Mall-In Complaint Confirmation
4 message

DeLaremore, Anya <ADeLaremore@aci.ga.gov> Mon, Oct 21, 2024 at 11:15AM
To: *Utware007@gmail.com" <Utware007@gmail,com>

Good Moming Ulysses,

The OCI Consumer Services division recelved your mailed-in complaint and forwarded It to our division. Your CID file
number Is 2024-00000483. Before we will open an investigation, one of our supervisors must review the Information you
provided. He or she will make the final decision.

Thank you!

Anya DeLaremore

Business Support Analyst

Criminal Investigations

Office of Commissioner John F. King
Two Martin Luther King Jr Drive
Sulte 720 West Tower

Atlanta, Georgia 30334
ADelaremore@oci.ga.gov *
404-651-6891

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.

Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 37 of 64

Thank you for your attention to this critically important Article III “threshold” jurisdiction

and standing constitutional matter.

RESPECTFULLY SUBMITTED,
For Appellants: GROUP MANAGEMENT and Ulysses T. Ware

Ulysses T. ot

MW aeaes ? by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
February 16, 2025

For Appellants-Movants Ulysses T. Ware and Group Management and Appellees:

cc: U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council
Administrative Office of the U.S. Courts, Executive Director

Office of the U.S. Trustee, Region 21, (Mary Ida Townson, Esq.)

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

State Bar of Georgia, Office of the General Counsel (William D. NeSmith, III) on behalf of
the Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs
Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C. and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY)
plaintiffs, Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services
Corp., Trailblazer Merger Corp., I

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 38 of 64

Certificate of Service

I Ulysses T. Ware certify that I have this 16" day of February 2025 served each of the below
persons or entities with a copy of this pleading via their public email accounts and submitted the
same to the U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Monro via the
for immediate filing and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5003,

5005(a)(2)° and 5005(b)(1) with the U.S. Trustee.”

cc: Office of the U.S. Trustee, Region 21 (Mary Ida Townson)
Baker & McKenzie, LLP attn. Michael J. Malliband, Esq. (Managing Partner)

U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, III)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Michael J. Malliband, Esq., Lawrance B. Mandala,
Esq., Robert Albaral, Esq. and Thomas A. Leghorn, Esq.)®

° With a Judge of the Court. A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

7 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

8 Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
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William D. NeSmith, I, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, II--statutory agents in fact); and

John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D. NeSmith, III,
Wab Kadaba, J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland,
the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Mary Ida Townson,
Esq., U.S. Trustee, Region 21)

/s/ UL

February 16, 2025

Certificate of Service—John F. King
I, Ulysses T. Ware, hereby certify that on this 16th day of February 2025, I caused to be served a
true and correct copy of the foregoing IMMEDIATE DEMAND FOR DISCLOSURE AND
PRODUCTION OF REGULATORY IDENTIFYING INFORMATION REGARDING
“JOHN DOE INSURANCE COMPANIES ##1-5” PURSUANT TO OCGA § 33-3-28(a)(1),
(2) AND FED. R. CIV. P. RULE 26(a)(1)(A)(iv) IN IN RE: GROUP MANAGEMENT CORP.

via electronic mail to Anya DeLaremore at ADelaremore@oci.ga.gov and by U.S. Mail, first-class

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 40 of 64

postage prepaid, to Insurance Commissioner John F. King, Office of the Georgia Insurance

Commissioner, Two Martin Luther King Jr. Drive, Suite 720 West Tower, Atlanta, Georgia 30334.

/s/ Ulysses T. Ware

A Wu

Ulysseé T. Ware

End of document

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Sunday, February 16, 2025

(13-9) (Part 15-9) re Appellants’ Final Actual Notice of Adverse Consequences, civil and penal, for each
Appellee, their privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 41 of 64

03-93031: Rule 8009(d) F-8

United States District Court (7 _f
Southern District of New York
ul ,* Bo,

Alpha Capital Aktiengesellschaft, Amro "8
Intemational, S.A., Markham Holdings, Ltd.,
and Stonestreet Limited Partnership,

02 CV 2219
Judge Sand
Plaintiffs,

-against-
DECLARATION

Group Management Corp., formerly known
as IVG Group, formerly known as Internet
Venture Group, Inc., Elorian Landers and
Becky Landers,

Defendants.

x . . .
Confessions, binding judicial admissions, and self-incrimination by

Lawrence B. Mandala, Esq. and Baker & McKenzie, LLP.
DECLARATION OF LAWRENCE B. MANDALA

I, Lawrence B. Mandala, declare as follows:

1 Tam a licensed attorney with the law firm of Baker & McKenzie in its
Dallas, Texas office. I am over 18 years of age and file this declaration on behalf of
Group Management Corp., formerly [VG Corp. (“Group Management” or “the
Company”), in opposition to plaintiff's motion for preliminary injunctive relief.

a From on or about October 2000 through January 2002, I provided legal
services to the Company in connection with the negotiation of financing and the
preparation and filing of a registration statement with the United States Securities and

Exchange Commission (“SEC”) on form SB-2,

445726-1 1

eS CamScanner
Case 1:25-cv-00613-MLB Document 5-16 Filed 03/07/25 Page 42 of 64

GX 1 and GX 5 null and void ab initio for violations of 15 USC 780(a)
(1) and 78cc(b); and 18 USC 1951(a), 1961(6)(B), and 1962(a-d).

The Financing and Subscription Agreement.

3. In January and February 2001, I provided legal services for the Company
in connection with a transaction with the plaintiffs in this case. The transaction closed on
Predato ry crim | nal usury U ni: awtul debts Bis SR a sc
Agreement of a total of SI, 1 million of convertible notes by the Company to the
plaintiffs. A copy of the Subscription Agreement is attached as Attachment A. In
addition, the plaintiffs and Union Atlantic Capital, L.C., a financial advisor involved in

the transaction, received warrants to purchase common stock of the Company.

GX 5, para. ,10. Heda chic ela SAME underwriter

status Of KTS' clients admission by Baker and Mandala.
filed within 90 days of the closing of the transaction (by May 3, 2001) and effective

within 135 days of the closing of the transaction (by June 17, 2001). From February
2001 through January 2002, I worked diligently on behalf of the Company with both the
Comipany and its independent accountants to prepare, file and amend a registration
statement acceptable to the Company, and which the Securities and Exchange
Commission (the “SEC”) would make effective, to register the shares of the Company’s
common stock issuable upon conversion of the notes and exercise of the warrants.

5, Throughout the registration process, I kept Edward Grushko, counsel for
the plaintiff noteholders, and Andrew Reckles, represénitative of Union Atlantic Capital,
L.C., apprised of the registration process.

SB-2 Registration Statement

6. Between February 2001 and May 2001, | worked with the Company and

its independent accountants to prepare the registration statement for filing, The

Mandala's confessions and binding judicial admissions of 15 USC

| 77b(a)(1) statutory underwriter status for each of KTS' unregistered
broker-dealer clients, see Dkt. 11, 03-93031, which rendered KTS and
its clients“4Ad Baker & McKenzie, and Mandala jointly and severally
liable for +$5.2225 billion in damages.

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Baker & McKenzie and Mandala confessed and judicially admitted, equitable estoppel, that GX

1-4 violated NYS Penal Law, section 190.40, the criminal usury law, a class E felony, and
implicitly admitted the UST's, Dkt. 6, and 13, and KTS' Dkt. 11, 15, and 16 violated 18 USC

151(a), 196 {GM Fadi Behe RG Has MAAK ne Sat! BARG S60P Withering NE penadon”?’s 278

and 286.

stated in the Subscription Agreement.

% When the registration statement was filed, the Company sought to register
for the noteholders and Union Atlantic Capital, L.C., the offer and sale of 2,724,546
shares of the Company’s common stock. This number included (a) 2,121,504 shares that

represented 200% of the shares of common stock that would have been issuable to the

noteholders on conversion of the notes, if they had been converted on May 2, 2001, plus
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(b) 278,042 shares that represented 200% of the shares that would be issuable to the
Eg SEED

noteholders under the Subscription Agreement 180 days after the registration statement

became effective, if the Company’s closing bid price did not exceed $2.374 for 10

consecutive trading days during that 180-day period and the Company’s average closing
price for the five days at the end of such 180-day period did not exceed $1.5825, plus (c)

325,000 shares that represented 100% of the shares issuable to the investors and Union

Crs

Atlantic Capital, L.C. upon exercise of the warrants they were issued under the |

ess

Subscription Agreement.

8, On April 1, 2001, the Company acquired SES-Corp., Inc. (“SES”) in a
merger. As a result of the merger, financial information about SES, including historical
audited and unaudited financial statements and pro fornia financial information giving
effect to the merger, was required under SEC rules to be included in the registration
statement.

9, On June 8, 2001, I received a comment letter from the SEC relating to the

registration statement. | promptly telephoned Edward Grushko, counsel for the

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noteholders, advised him that the comment letter had been received, and forwarded a
copy of the SEC’s comment letter tohim. = yiy|] and void GX 5

10, Although the Subscription Agreement called for the registration statement

to be declared effective by June 17, 2001, the Company was unable to do so, The
historical audited and unaudited financial statements of SES that needed to be included in
the registration statement were never provided to the Company. Without these financial
statements, the Company could also not prepare the required pro forma financial
information for the registration statement.

11. Throughout June and July 2001, I advised both Mr. Grushko and Mr.
Reckles of the Company’s efforts to obtain, and eventual inability to obtain, the SES
financial information necessary to complete an amendinent to the registration statement.

12. During July and August 2001, I was asked by the Company to prepare
documents essentially unwinding the merger with SES by selling the stock of SES to the
two former owners of SES, This sale occurred on or about August 14, 2001.

13. So that the Company could proceed with the registration statement, I
spoke with the Staff of the SEC’s Division of Corporation Finance in August 2001 and
obtained their informal advice that the Company could, upon the disposition of SES by
the Company, proceed with the registration statement afd its other SEC filings, but omit
the financial information regarding SES that would normally have been required to be
included.

14. During July and August 2001, I participated in conversations with Mr.

Grushko and Mr. Reckles regarding the possibility that the noteholders would provide the

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Company with additional financing, and extend the time period for the Company to file
an amendment to the registration statement and make the registration statement effective.

Agreement to Extend Date by which Registration Statement was to be Declared
Effective

15. On or about September 10, 2001, pursuant to the terms of a Security
Agreement and Collateral Agent Agreement, copies of which are attached as Attachments
B and C, the parties agreed that Group Management would be given an extension to
December 10, 2001 within which to have the registration statement declared effective by
the SEC. The Security Agreement also called for the Company to file Amendment No. 1
to the registration statement by October 10, 2001.

16, In addition, the noteholders provided an additional $55,000 to the
Company for the purpose of paying some of the legal and accounting fees due to counsel
and accountants working on the registration statement.

17. Under the Security Agreement, several of the Company’s shareholders
pledged a total of 5,003,000 shares of the Company’s common stock owned by them, as
security for the Company's obligations to the noteholders under the convertible notes and

the loans described in the immediately preceding paragraph of this Declaration.

18. Between June and October 2001, I worked with the Company and its
independent accountants to prepare Arieniioimetebes 1 to the registration statement for
filing. The amendment was filed with the SEC on October 10, 2001, within the time
periods stated in the Security Agreement,
19. | When Amendment No, | to the registration statement was filed, the
Company sought to register for the noteholders and Union Atlantic Capital, L.C,, the

- offer and sale of 39,233,420 shares of the Company's common stock.. This number

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Baker's and Mandala's confession of aiding and abetting 18 USC |
2, 371, 1951(a), 1961(6)(B), and 1962(a-d) unlawful debt
collection activity. G3 camscanner
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$2.374 x 38 630,378 = $91 208.517.37 plus interest to be disgorged t0 the Chapter 11

estate as a result of Baker & McKenzie’s negligence and fraud--subject to Rule 26(a)
(1)(A)(iv) insurance policy disclosure for claims by the Appellants.

included 38,630,378 shares that represented 200% of the shares that would have been

issuable to the noteholders on conversion of the notes, if they had been converted on
‘October 8, 2001, plus (b) 278,042 shares that represented 200% of the shares that would
be issuable to the noteholders under the Subscription Agreement 180 days after the
registration statement became effective, if the Company’s closing bid price did not
exceed $2,374 for 10 consecutive trading days during that 180-day period and the
Company’s average closing price for the five days at the end of such 180-day period did
not exceed $1.5825, plus (c) 325,000 shares that represented 100% of the shares issuable
to the investors and Union Atlantic Capital, L.C. upon exercise of the warrants they were

issued under the Subscription Agreement.

SEC Comment Letter

20. On or about November 16, 2001, almost five weeks later, the SEC
provided its written comments on Amendment No. 1, a copy of which is attached as
Attachment D. I promptly telephoned Edward Grushko, counsel for the noteholders,
advised him that the comment letter had been received, and forwarded a copy of the
SEC’s comment letter tohim. The bindi ng reg ulatory smoking gun
concent Comment number 2 noted that the Company was registering for resale 39

million shares owned by parties that “may be deemed’affiliates” of the Company

“because of their holdings and because of the subscription and security agreements in
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effect involving them.” The SEC Staff took the position that the registration of such a
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large number of shares by “related parties” should be deemed the same as a registration
by the Company. The Staff also took the position that registration of these shares for

resale in the manner proposed by the noteholders (an “at the market" shelf registration)
"May be deemed affiliates" ==> that the SEC's staff in a binding regulatory
determination ruled that KTS' unregistered broker-dealer clients were in fact 15 USC
78p(b) statutory insiders, “affiliates” of the Chapter 11 Debtor Group Management,
and therefot€re required to disgorge, 11 JSC 542(a) turnover to the Chapter 11
estate the $91,708,517.37 jointly and severally with Baker & McKenzie, KTS,
Mandala, KTS' clients, Meir, Mills, Walker, Kadaba, and the U.S. Trustee, James.H...

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was not permissible because the Company did not meet the requirements to do an at the
market shelf registration for itself.

22. Comment 16 of the SEC’s letter requested that the holdings of beneficial
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owners over 5% in the registration statement be revised to reflect the ownership of the
plaintiff noteholders and that the Company disclose the “control persons” of the plaintiff

noteholders.

23. On November 21, 2001, I spoke with Edward Grushko regarding the
information requested by the SEC regarding the plaintiff noteholders’ status as affiliates
of the Company and the names of their control persons. Only the noteholders or their
counsel could provide the factual information regarding the noteholders and their
relationships with the Company and with each athe that was necessary to provide a full
and accurate response to Comments 2 and 16,

24. On November 27, 2001, I again requested that Mr. Grushko provide the
information the Company needed from the noteholders in order to respond to Comments
2 and 16. (See Attachment E.] On December 4, 2001, I received a copy of an e-mail
from Clay Border of Group Management to a representative for one of the investors,
again requesting this information. (See Attachment F.]

25. On December 6, 2001, I received a fax‘éontaining representations from
two of the four notcholders regarding their affiliate status. [See Attachment G.] I advised
Mr. Grushko both by telephone and e-mail that we still needed comparable information
regarding the other noteholders, and that we still needed information regarding the

control persons of all four noteholders in order to respond to Comments 2 and 16, [See

Attachment H.]

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26. On December 7, 2001, I received a fax containing representations from the
other two noteholders regarding their affiliate status. [See Attachment I.]

27. On December 10, 2001, I received three e-mails from counsel for the
noteholders who for the first time provided the names of persons they represented were
the control persons of the noteholders and representing that certain other persons were
not control persons of the noteholders. [See Attachment J.]

28. Even though the parties to the Security Agreement had agreed that the
registration statement was to be declared effective by December 10, 2001, the plaintiff
noteholders did not supply the full information the Company needed to respond to
Comments 2 and 16 until December 10, 2001 at 8:49 a.m., 10:07 a.m. and 2:49 p.m. on
that date. .

29. Based upon the information provided by the noteholders on December 6, 7
and 10, I prepared a letter to the SEC requesting that they waive Comment 2 and permit
the resale “at the market” shelf registration by the noteholders to go forward. This letter
was sent to the Staff on December 19, 2001. In late December or early January, the SEC
Staff advised me that they would withdraw Comment 2.

30. Between November 2001 and January 2002, I worked diligently with the
Company and its independent accountants to prepare ar obtain the information necessary
to prepare a second amendment to the registration statement that responded to the SEC's

November 16 comment letter.

An Effective Registration Statement

31, An amended registration statement responding to the SEC's November

16, 2001 comment letter could be prepared and filed on behalf of the Company to
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offect the registration on behalf of the plaindff noteholders. However, due to the passage

of time, the floancial information ind other disclosures in the registration statement needs

to be updated, and certain etn financial information regarding CyberCoupons, Inc.,

a 35%-owned subsidiary of the Company and Swan Magnetics, Inc., a former subsidiary

of the Company, must be obtained.

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I declare under penalty of perjury that the foregoing is true and correct,

Dated: April 15, 2002 .
; Lawrence B, Mandala

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United States District Court
Southern District of New York

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Alpha Capital Aktiengesellschaft, Amro { f ' D+ aude

International, S.A., Markham Holdings, Ltd., "Me 4

and Stonestreet Limited Partnership, “SS
02 CV 2219
Judge Sand

Plaintiffs,
-against-
DECLARATION

Group Management Corp., formerly known
as [VG Group, formerly known as Internet
Venture Group, Inc., Elorian Landers and
Becky Landers,

Defendants.

DECLARATION OF ELORIAN LANDERS

I, Elorian Landers, declare as follows:

L, I am the Chief Executive Officer (“CEO”) of Group Management Corp,

formerly IVG Corp, and I am over 18 years of age. I am submitting this declaration in
opposition to plaintiff's motion for a preliminary injunction,

2 Group Management (“GPMT” or “the Company”) is a holding company
engaged in consolidating human resource companies, such as temporary staffing, project

staffing, and human resource consulting. PMT also owns a small promotion and gift

manufacturer named Gee Whiz.

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Negotiations Over $1.3 Million Convertible Financing

3. In October 2000, Vince Sbarra, Senior Vice President of investment
banking and marketing for Union Atlantic Capital, L.C., an investment banking firm,
provided a term sheet to me, as GPMT’s CEO, for proposed financing of $3 million
based on the issuance of convertible securities. [Attachment A.]. Over the next several
months, Andrew Reckles (“Reckles”), the CEO of Union Atlantic, served as the main
contact person with whom we negotiated the financing, The October 2000 term sheet
required the Company only to use its “best efforts” in filing and accelerating the effective
date of a registration statement within 180 days of the closing date of the financing (see
Attachment A]; but, the pertinent filing and effective dates for the registration statement
were changed in the subscription agreement. [See {6 below.]

4, Four offshore investors/lenders, through Reckles, would supply the
funding, which in the aggregate totaled $1.1 million and their interests would be
represented by corivertible securities. The names, country of origin, dollar amount of
investment, and contact person are listed below:

(a) Alpha Capital Aktingesellschaft

Lichtenstein
$300,000 .
- Contact person: Ari Rabinowtz, who owns LH Financial

ames (hb) Amro InternationalS.A. -
Zurich, Switzerland
$250,000
Contact person: Thomas Badian

ome=me=t (¢) | Markham Holdings LTD
Gibraltar
$350,000
Contact Person: David Hassan

Unregistered broker-
dealers, KTS' clients in 03-
“ot 93031, Dkt. 11, 15, and 16

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ails (d) —_ Stonestreet Limited Partnership
Markham, Ontario
$200,000
Contact person: Michael Finkelstein
3; Closing on the financing occurred on February 2, 2001. At that time,
each of the above investors were issued a convertible note.

6. The subscription agreement for this financing stated in paragraph 10.1(iv)

that the Company was to undertake reasonable commercial efforts to get a registration

statement filed and declared effective: 15 USC 7/7b(a)(11) statutory underwriter

“The Company shall file with TUS securities and Exchange] Commission
within 90 days of the closing date (the “Filing Date”) and use its
reasonable commercial efforts to cause to be declared effective a Form
SB-2 registration statement (or other form that it is eligible to use) within
135 days of the Closing Date in order to register the Registrable Securities
for resale and distribution under the Act.” (See Attachment A to the
Declaration of Lawrence Mandala, 410.1(iv)(emphasis added).]

Th This time table required the filing of a registration statement by May 3,
2001, and required that the registration statement be declared effective by June 15, 2001.

8, As CEO, from early March 2001 to the present, I and the other officers of
the Company have worked tirelessly to get a registration statement on Form SB-2 filed
and to have it declared effective by the Securities and Exchange Commission (“SEC”)
pursuant to the subscription agreement, The Company retained highly competent

Lawrence B. Mandala, Esq.--a complete fraud and incompetent.
securities lawyers aker to MeKenzic) as well as fallctiene accountants, Bete ted

my fellow officers and the Company’s directors to be responsive in a timely fashion to
any and all inquiries by counsel and our accountant. However, the ultimate decision

maker as to the effectiveness of a registration statement is the SEC, not the Company.

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9. During the period March through June 2001, I and other officers of the
Company kept the plaintiff noteholders and their representatives fully apprised of any
issues that arose and any possible changes in the time table encountered in getting the
registration statement ready for filing with the SEC. During the spring and summer

months, no one ever objected to any slippage in the time schedule.

10. ‘Further, from June 2001 to the present, the Company’s other officers,

employees and I have remained with the Company without salary payments, despite the
problems we have encountered, because we have sought to take all possible corrective
action and protect the interests of over 600 shareholders.

Acquisition of SES-Corp, Inc.

11. On or about April 1, 2001, by merger, the Company acquired SES-Corp,
Inc, and its subsidiary SES, which was a professional employment organization.
Although we had been provided with financial statements by SES during the due
diligence process, SES’s management promised our CFO, Pat Walden; that SES would

provide audited financial statements within 60 days or less of the closing on the

acquisition.

Baker & McKenzie, LLP 18 USC 1964(c), 1961(6)(B) civil liablity for +$5.2225
billion 12, The Company's securities counsel, Lawrence Mandala, and I kept the
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investors representatives, including Andrew Reckles, as well as their legal counsel,
Edward Grushko, fully informed of the status of the SES acquisition and the need for
historical audited and pro forma financial statements for inclusion in the Company’s SB-

2 registration statement.

13. None of the investors or their representatives ever objected to the impact

on the time table caused by the lack of these financial statements for SES. Indeed, the

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investors were excited about the acquisition of SES because such an acquisition added
value to the Company. SES’ annual revenue approximated $989 million. Thus, the
Company and the investors representatives continued to target late May or early June
2001 as the filing date for the SB-2 registration statement.

Filing of an SB-2 Registration Statement with the SEC

14, The SB-2 was filed on or about May 2, 2001, which was within the

original schedule set by the subscription agreement,

15. On June 8, 2001, Lawrence Mandala, the Company’s securities counsel,
received the first SEC comment letter on the registration statement . The SEC raised the
issue of the absence of historical audited financial statements of SES. According to the
SEC, without such financial statements, the Company’s registration statement could not

be declared effective.

IRS Seizure, Asset Freeze of SES Accounts and SES’s Bankruptcy

16. On April 27, 2001, the Internal Revenue Service executed a search
warrant at SES’ corporate headquarters as part of an investigation into SES’ tax
reporting. The IRS removed numerous boxes of SES financial information. [See

Attachment B.]
17. Onor about June 26, 2001, I was notified by SES management that

Michigan National Bank had frozen SES’s bank accounts, because SES held an overdraft
at the bank of more than $32 million. [See Attachment C.] By July 2, 2001, the board of
directors of SES had determined that SES had to file for bankruptcy. SES has not yet

emerged from bankruptcy.

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18.  Onor about July 10, 2001, the Company announced the failure of SES.
[See Attachment D.]

19. I successfully negotiated with SES to unwind the acquisition and
instructed securities counsel to prepare the documents needed to unwind the merger by
selling the stock of SES to former owners of SES, This dissolution was publicly
disclosed in an 8-K filing with the SEC.

20. Although I am not certain, I believe that Michigan National Bank
contacted the FBI in connection with the freezing of these accounts. On August 1, 2001,
an Assistant United States Attorney, Richard Convertino, and two FBI agents, from the
Eastern District of Michigan’s Organized Crime Unit visited our Company and informed
me that the Company had been defrauded by SES in connection with the acquisition.
Based on the information from the FBI, I concluded that there was simply no way to
obtain audited financial statements for SES.

21. In late August 2001 or early September 2001, the SEC notified securities
counsel for the Company that the it could continue to file its quarterly reports as if the
acquisition never occurred. The SEC reached this determination, notwithstanding the
collapse of SES, because the Company held SES for a short time, the board of directors
of both companies approved the unwinding of the transaction, and the impossibility of

obtaining audited financial statements.

Extension of Time to Have Registration Statement Declared Effective

22. During August and September 2001, I requested Clay Border, VP of
Corporate Development for the Company, to negotiate with the representatives of the

investors, including Ari Rabinowitz, Michael Finkelstein and Thomas Badian, as well as

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with Andrew Reckles and Paul Mannion, who had left Union Atlantic to form a company

called Hyperion, for an extension of the time to have the registration statement declared
unlawful debt extortion, Hobbs Act, 18 USC 2, 371,
1951 (a) violations

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Inste: working in the Company’s best interests, Reckles and Paul

éffective.

23.
Mannion refused to discuss an extension with the noteholders unless the Company first
gave them 1.2 million free-trading shares under yet another consulting agreement.
Révicles make it clear that ithe Comiphiyy did not provide the shares and enter into the
consulting agreement, he would simply instruct the noteholders to foreclose on the

600,000 shares to act as a consultant. Each of the representatives of the investors ~
Badian, Rabinowitz and Finkelstein -- knew about this agreement.

24. The extension was reflected in a Security Agreement, dated September 10,
2001, in which the Company was granted an extension until December 10, 2001 to have
the registration statement declared effective.

25. As part of this agreement, plaintiff noteholders stated that they wanted 5
million shares put in escrow, which represented a sufficient quantity of stock to retire the
$1 million loan when the stock was trading at 20 to 35 cents. My wife and I placed 3
million shares of the total 5 million shares held in escrow because the Company was
unable to locate enough additional shareholders to reach the 5 million share requirement.

26. Amendment Number 1 to the SEC registration statement was filed on

October 10, 2001, two months before the agreed upon date for effectiveness.

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SEC November 2001 Comment Letter

27. OnNovember 16, 2001, the SEC issued its comment letter on the
Company’s amended registration statement.

28. Pursuant to comments 2 and 16 in the SEC letter, plaintiff noteholders
were required to demonstrate that they were not related parties or affiliates. This required

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them to disclose the number of shares each held and the identity of the person or entity

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who controlled them. On or about November 19, 2001, I notified Ari Rabinowitz (LH

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Financial) that the Company would not be able to proceed any further with the
registration statement until the Company was supplied with the underlying information
requested by the SEC. I also instructed our securities counsel to notify the plaintiffs
counsel, Edward Grushko.

29. Plaintiffs never provided the necessary information until December 10,
2001, the date on which the parties had agreed that the registration had to be declared
effective by the SEC. However, given the plaintiffs’ tardiness in providing the
iniforation, it was impossible to have the registration statement corrected, filed,
reviewed by the SEC staff (which itself takes 30 to 45 days) and declared effective -- all
on the same day.

30. Further, certain of the information provided by the plaintiffs did not

comport with previous information they had supplied to the Company. As an example,

based on prior documentation, the Company thought that Ari Rabinowitz wag the person

who controlled Alpha Capital, one of the plaintiffs, Based on the information provided
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on December 10, 2001, however, we now were informed that the control person was

Konrad Ackerman.
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15 USC 78p(b) statutory insider, a fiduciary, of the Chapter 11 Debtor, .
required to disgorge, 11 USC 542(a) turnover all profits realized from trading

in the Debto's equity securities.
31. Further, it was not until January 2002 that one of the newly disclosed

individuals (Konrad Ackerman) actually filed with the SEC beneficial ownership
statements on Schedule 13G which revealed the substantial size of his holdings 6.8
million shares in the Company’s shares. [See Attachment E.] Most significantly, the
number of shares indicated on that Schedule 13G exceeded the total number of shares

issued and outstanding by the Company, which at that time was only 3.5 million

Indication of Market Manipulation

32. During the time period of the financial relationship between the Company
and the plaintiff investors, I believe that these investors and/or their representatives have
engaged in various manipulative tactics to apply downward price pressure on the
Company’s stock. Although this conduct was present earlier in the year, by September
2001, it became increasingly obvious that the market for the Company’s stock was being
manipulated. No matter how many shares a purchaser sought to buy, the stock price
dropped. There was also a large spread between the bid and asked prices. Further, there
were always the same two or three market makers that sat at the top of the market that
blocked or discouraged other market makers from participating. Richard Twardowski and
I received a number of calls from investors who complained about the downward
pressure mplled to the stock price, even when they were buying the stock.

33; After the Company supplied the 600,000 shares to Hyperion for
investment advice, there was added downward pressure applied to the stock’s price. [See
| 23 above.]

34. In early January 2002, Michael Finkelstein called Clay Border, who

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teferred the phone call to my office, and I placed it on the speaker phone. One of the
topics of the conversation was market manipulation of the Company’s stock. Finkelstein
is resident of Canada and associated with Canaccord as an investment advisor. Canaccord
is known to use Frankel for its trading, 1 asked Finkelstein to quit shorting the

Company’s stock, which Finkelstein denied. I then asked Finkelstein to contact Frankel’s

head trader to ask them to stop shorting the stock. After Finkelstein first denied knowing
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anyone at Frankel, Finkelstein acknowledged that he knew the head trader and would

contact Frankel to stop the shorting.

35. In January 2002, following a 20-for-1 reverse stock split, the stock started
to trade more normally. However, on at least three occasions, there appeared a large
spread between the bid and asked prices — for example, when bid price was 35 cents, but
the asked price remained $1.30 or more.

36. Within the twenty-two day period required by the conversion price
formula, which time period encompassed these anomalous bid quotations, the Company
was notified that the plaintiff noteholders wanted the 5 million pre-split shares (250,000
post-split shares) held in escrow to be released at a price of 29 cents (85% of the 35 cent
bid price under the price formula). [See Attachment F.] I discussed this matter with Ari

Rabinowitz on or before February 5, 2002 [See Attachment G.] When I informed
plaintiffs’ securities vat ee we in early February 5, 2002 that these bids
constituted pricing irregularities and anomalies, Grushko agreed. Grushko and I
discussed assigning a value of 85 cents to the stock, a price which more accurately
reflected the true market for the stock, as well as requiring the sale of the stock by

plaintiffs on an limited market volume basis and prohibiting short sales. Grushko

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reported back on February 7, 2002, however, that his clients refused both the price and

the conditions.

37. Because the Company had informed the SEC, NASD and FBI of possible
market manipulation in the Company’s stock (See ¥ 38-41 below), I informed Grushko
that the Company would not provide an opinion of counsel that the escrow shares could

be released at the 29 cents price demanded by the plaintiff noteholders.

—> Notification to FBI of Possible Market Manipulation
38, On or about February 4, 2002, I contacted an FBI agent, Terrance
Donahue, in Houston, Texas and informed him that there was possible stock
manipulation occurring in the Company’s common stock, He advised us to notify the

plaintiff noteholders that they were under preliminary investigation and also advised us

not to provide any shares to the plaintiff noteholders.

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39. On February 5, 2002, I also instructed both Clay Border, VP of Corporate
Development, and Richard Twardowski, who is in charge of investor relations at the

Company, to make a written submission to the NASD.
40. On February 13, 2002, the Company publicly announced that it had
notified the FBI about “possible improprieties in the trading of its stock.” It also
wr pase oceeucs ahaa td eungartee he eiefand ibe WANS tn daveugais pole anomalies
in the quoted bid price of its stock prior to receipt of notices to convert. [See Attachment
H.]
41. Further, Michael Bradle, a business consultant and a shareholder of the

Company, contacted me, informed me he wrote to the SEC complaining of stock

manipulation, and provided me with a copy of that letter. [See Attachment I.]

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42. On or about April 9, 2002, the SEC contacted the Company that it had
commenced a preliminary inquiry into the trading activities in the Company’s stock.

Notice to Convert by Alpha Capital

43. Onor about February 21, 2002, the Company received a notice from Ari
Kluger, an unknown person, on behalf of Alpha Capital of its desire to convert $10,000

principal amount of the convertible note plus interest into 20,066 shares of common

stock. [See Attachment J] 18 USC 1961(6)(B) unlawful debt collection
44, I found this ae NY ie for several reasons: I did not recognize the

name Ari Kluger; the notice involved a small amount; and, there was no underlying stock

registered with the SEC into which the note could be converted. While we were

contemplating issuing restricted (144) stock to Alpha, in the meantime the Company was

sued by the plaintiff noteholders,

Hobbs Act threats, 18 USC
Threats to Takeover or Destroy the Company 1951 (a).

45, On at least three occasions, plaintiff noteholders have threatened me and

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my fellow corporate officers about taking over or destroying the Company.

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46. The first instance occurred in July 2001, when I and Clay Border traveled
to New York City to meet with the representatives of Alpha Capital, Amro Intemational,
Stonestreet, and Hyperion to discuss the collapse of SES and the status of the Company’s
plans to rebuild. In a highly derogatory manner, Thomas Badian stated to me as follows:

“You little arrogant asshole. What makes you think that you can come up here and tell us
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what you are going to do, I will destroy you and [the Company].” fug itive from
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47, The second instance occurred in or about August 2001. f gera ; geiment

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the investment advisor to Amro International S.A., called my office to discuss the
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Company’s future plans for moving forward and resolving the problems that had been

spawned by the SES fiasco and its impact on the SEC registration statement. Because of
_ his loud and belligerent tone and slang, I placed the call on the speaker phone. Richard —

Twardowski, who is head of investor relations at the Company, overheard Badian’s:

remarks. During that phone call, Thomas Badian threatened to destroy the Company and
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me along with it,
qe ES .
48. The third instance occurred on or about February 12, 2002, after Grushko

and I disagreed over the price for the escrowed shares, when Andrew Reckles called our
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securities counsel, Lawrence Mandala, to pass on the following threat: Reckles said that
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if the Company would not release the escrow shares with a value of 29 cents, all of the
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noteholders would combine to sue me personally, as the one who was responsible for not
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providing stock to which they believed they were entitled. See 02cv2219 (SDNY)

lawsuit.
Financial Condition of Group Management and Retirement of Plaintiffs’ Notes

49. Onor about April 2, 2002, the Company engaged The Shelley Group
LLC, an investment banking firm in New York, to raise financing for new acquisitions of
HR service firms. (See Attachment K.] To do so, the Shelley Group is attempting to
raise $6 million -- $4 million for acquisition financing, $1 million to retire the plaintiff
noteholders convertibles securities, and $1 million for general and administrative costs.
Accordingly, this financing will completely retire the debt owed the plaintiff noteholders.

$0. On March 1, 2002, the Company, together with BestStaff, announced the
formation of PeopleCorp, as the first step towards consolidating the business services
industry, PeopleCorp has entered into a letter of intent to acquire a 45% stake in

BestStaff, which recorded unaudited revenue of approximately $10 million in 2001.

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I declare under penalty of perjury that the foregoing is true and correct to
the best of my knowledge, information and belief.

Dated: April 15, 2002 Ar (ole, ~

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